Case 3:14-cv-02749-N         Document 155        Filed 08/22/16       Page 1 of 4      PageID 3661



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

CHILLY DIL CONSULTING INC., a             §
Florida corporation,                      §
                                          §
                Plaintiff,                §
                                          §
V.                                        § CIVIL ACTION NO. 3:14-cv-02749-N
                                          §
JETPAY ISO SERVICES, LLC, a Texas         §
limited liability company; JETPAY, LLC, a §
Texas limited liability company; JETPAY   §
CORPORATION, a Delaware corporation; §
and TRENT R. VOIGT, an individual,        §
                                          §
                Defendants.               §
______________________________________________________________________________

 BACKPAGE.COM, LLC’S REPLY BRIEF IN FURTHER SUPPORT OF ITS MOTION
  TO STRIKE NEW EVIDENCE AND ARGUMENT FILED IN PLAINTIFF’S REPLY
                                    BRIEF
____________________________________________________________________________

         Non-party Backpage.com, LLC (“Backpage.com”) files this Reply Brief in Further

Support of its Motion to Strike New Evidence and Argument Filed in Plaintiff’s Reply Brief in

Support of Motion to Compel Non-Party Backpage.com, LLC to Comply With Subpoena Duces

Tecum and to Hold Backpage in Contempt and Brief in Support [Dkt. No. 139].

                                          I.      REPLY

         Plaintiff’s response to Backpage.com’s motion to strike demonstrates Plaintiff’s penchant

for disregarding Court rules and then asking for the Court’s forgiveness and accommodation

where it should have asked for permission. The issue here is not whether Plaintiff could have

justified its request for leave to file new evidence with its reply brief (on it is motion to compel),

the issue is that no request for leave was ever made. If Plaintiff had valid grounds for the

introduction of new evidence with the reply, Plaintiff could and should have set out those



132322350.2
Case 3:14-cv-02749-N         Document 155        Filed 08/22/16      Page 2 of 4      PageID 3662



grounds in a motion for the Court’s permission to file a reply appendix. That is what the rules of

the Court require for the “just, speedy, and inexpensive determination of every action and

proceeding.” FED. R. CIV. P. 1.

         Accordingly, the law is clear. “It is well established that a party may not file evidence

with a reply brief without first obtaining leave of court.” United States v. City of Dallas, 2011

WL 4912590, at *4 (N.D. Tex. Sept. 27, 2011); see also Racetrac Petroleum, Inc. v. J.J.’s Fast

Stop, Inc., 2003 WL 251318, at *19 (N.D. Tex. Feb. 3, 2003) (striking evidence submitted with

reply brief); Dethrow v. Parkland Health Hosp. Sys., 204 F.R.D. 102, 104 (N.D. Tex. 2001)

(citing cases) (“[T]he court will not consider any evidence from the reply appendix that he cites

in his reply brief”).

         Plaintiff has not identified a single case from the Northern District of Texas that has

permitted the filing of a reply appendix without leave. Instead, Plaintiff attempts to rely on cases

from outside of this jurisdiction. But even those cases do not justify Plaintiff’s effort to file new

evidence that Backpage.com cannot answer. See Litton Indus., Inc. v. Lehman Bros. Kuhn Loeb

Inc., 767 F. Supp. 1220, 1235 (S.D.N.Y. 1991) (noting that the local rules of the Sourthern

District of New York “expressly provides for the submission of ‘reply papers’” but also that “the

district court should permit the nonmoving party to respond to the new matters” (emphasis

added)), rev'd, 967 F.2d 742 (2d Cir. 1992), as amended (Sept. 23, 1992); Edwards v. Toys "R"

Us, 527 F. Supp. 2d 1197, 1205 (C.D. Cal. 2007) (court declined to strike declarations filed in a

reply that addressed the same telephone conversations raised by the non-movant’s evidence, but

explicitly stated that the new declarations did “not alter the court’s conclusion” on the issues

raised in the original motion and thus had no material relevance) (emphasis added).




132322350.2
Case 3:14-cv-02749-N        Document 155         Filed 08/22/16        Page 3 of 4    PageID 3663



         At minimum, if the Court is inclined to forgive Plaintiff’s disregard of the rules and

accommodate Plaintiff’s implicit belated request to submit new evidence with its reply in support

of its belated motion to compel (see Dkt. 133), fairness and the caselaw cited by Plaintiff dictate

that Backpage.com should be granted leave to file a surreply with its own new evidence in

rebuttal. See Dkt. 148, citing Pa. Gen. Ins. Co. v. Story, 2003 WL 21435511, at *1 (N.D. Tex.

June 10, 2003) (denying motion to strike new argument raised in reply while granting the

“alternative motion for leave to file a surreply” in order to respond); Litton, 767 F. Supp. at 1235.

Plaintiff’s citation to Murray v. TXU Corp., 2005 WL 1313412, at *5 (N.D. Tex. May 27, 2005),

does not provide a persuasive basis for denying Backpage.com an opportunity to respond to

Plaintiff’s reply evidence. In Murray, the court denied a motion to strike a reply brief containing

only new case law citations, but “no new arguments” and no new evidence. Id. Here,

Backpage.com’s objection to Plaintiff’s reply is not founded on the inclusion of “new case law,”

but on the introduction of new evidence to support an argument to which Backpage.com cannot

respond unless it is granted a surreply.

                                      II.    CONCLUSION

         For the foregoing reasons, Backpage.com requests that the Court strike the declaration

and exhibits submitted with Plaintiff’s Reply and strike the associated new argument from

Plaintiff’s Reply. If the Court declines to strike this evidence and portion of Plainitff’s Reply,

Backpage.com requests leave to file a surreply with its own supporting evidence rebutting

Plaintiff’s allegation of an agreement to a change of jurisdictions.




132322350.2
Case 3:14-cv-02749-N         Document 155       Filed 08/22/16      Page 4 of 4     PageID 3664




Dated: August 22, 2016

                                              Respectfully Submitted,


                                              /s/ Ann Marie Painter
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                                              ATTORNEYS FOR BACKPAGE.COM, LLC



                                 CERTIFICATE OF SERVICE

         I hereby certify that I served a true and correct copy of the foregoing to all counsel of

record for all parties via the Court’s CM/ECF system on the 22nd day of August, 2016.


                                                     /s/ Ann Marie Painter
                                                     Ann Marie Painter




132322350.2
